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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 RONDELLTE FRAZIER, Individually                  §
 and on behalf of all others similarly            §
 situated,                                        §
                                                  §
         Plaintiff,                               §          NO. 3:16-cv-02657-S
                                                  §
 vs.                                              §
                                                  §
 DALLAS/FORT WORTH                                §
 INTERNATIONAL AIRPORT BOARD,                     §
                                                  §
         Defendant.
                                                  §
                                                  §


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE



       RONDELLTE FRAZIER (“Plaintiff”), on behalf of opt-in Plaintiff Bless Azalumatu

and DALLAS/FORT WORTH INTERNATIONAL AIRPORT BOARD (“Defendant”) file

this Agreed Stipulation of Dismissal with Prejudice, and in support thereof would show the Court

as follows:


       1.      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Opt-In Plaintiff Bless Azalumatu is
               exercising his right to dismiss his complaint (and only his complaint) against
               Defendant. Plaintiff dismisses his claims against Defendant with prejudice to the
               re-filing of same;

       2.      Plaintiff and Defendant agree and stipulate that the dismissal by Opt-In Plaintiff
               Bless Azalumatu has no effect on and does not encompass the remaining
               Plaintiffs; and

       3.      Each party shall bear his/their own costs.




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 AGREED AS TO SUBSTANCE AND FORM:


  /s/ Chris R. Miltenberger                      /s/ Greg McAllister (w/permission)
  Chris R. Miltenberger                          Greg McAllister
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  Designated as Lead Counsel

  ATTORNEY FOR PLAINTIFFS                        ATTORNEYS FOR DEFENDANT




                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2020 a copy of the foregoing document was filed with

and served on all parties in accordance with the Federal Rules of Civil Procedure, via CM/ECF.

                                            /s/ Chris R Miltenberger
                                            Chris R. Miltenberger




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